                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04-cr-250

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
JAMES WILLIAM BOYD (2)                   )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on the retroactive amendments to the United States Sentencing Guidelines relating

to crack cocaine triggered by the Fair Sentencing Act of 2010 (Doc. No. 725), and the

government’s response (Doc. No. 732).

       The Court previously reduced the defendant’s sentence based on Amendment 706 to the

Untied States Sentencing Guidelines. (Doc. No. 703). The parties agree that under Amendment

750, and comparable departure for substantial assistance, the defendant is eligible for a further

reduction to 94 months. (Doc. No. 725: Motion at 12; Doc. No. 732: Response at 4). According

to the Bureau of Prisons, a sentence of 94 months would be complete on May 1, 2012. The

government opposes the motion based on prior sentence reductions and post-sentencing conduct.

(Doc. No. 732: Response at 5).

       Consistent with 18 U.S.C. § 3582(c)(2), the Court has considered the factors set forth in

18 U.S.C. § 3553(a), as well as the defendant’s post-sentence conduct and the public’s safety.

Based on these factors, the Court finds that a reduction of the defendant’s sentence would

accomplish the goals of sentencing.




    Case 3:04-cr-00250-RJC-DSC            Document 733         Filed 05/01/12     Page 1 of 2
       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED and the

defendant’s sentence is reduced to the time served plus 10 days.

       IT IS FURTHER ORDERED that, if the defendant is released from imprisonment

without a residential plan accepted by the United States Probation Office, the defendant shall

submit to the local Residential Reentry Center for a period not to exceed 90 days, with work

release, at the direction of the United States Probation Office, as a condition of supervised

release. All other terms and conditions previously imposed.

       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the Community Defender, the United States Attorney, the United States Marshals

Service, and the United States Probation Office.

                                                        Signed: May 1, 2012




                                                   2


    Case 3:04-cr-00250-RJC-DSC            Document 733         Filed 05/01/12      Page 2 of 2
